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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 X CORP., a Nevada                              §
 corporation,                                   §
                       Plaintiff,               §
                                                §
 vs.                                            §                   Case No. 4:23-cv-01175-O
                                                §
 MEDIA MATTERS FOR AMERICA, a                   §
 Washington, D.C. non-profit corporation,       §
 ERIC HANANOKI, and ANGELO                      §
 CARUSONE,                                      §
                                                §
                    Defendants.                 §


       JOINT STIPULATION AND NOTICE OF WITHDRAWAL OF REQUEST FOR
                            SANCTIONS (ECF 209)


         Plaintiff, X Corp. and Defendants, Media Matters for America, Angelo Carusone, and Eric

Hananoki, have fully resolved all issues raised in Plaintiff’s Brief Regarding Sanctions for Media

Matters’s Litigation Conduct (ECF 209). To avoid the need for further briefing, Defendants have

compensated Plaintiff for its costs in responding to their motion to transfer.

         Accordingly, because of the parties’ agreement, Plaintiff withdraws its Brief requesting

sanctions.

Respectfully submitted,

On behalf of X Corp.:
                                                      /s/ Christopher D. Hilton (with permission)
                                                      Judd E. Stone II
                                                      Texas Bar No. 24076720
                                                      Christopher D. Hilton
                                                      Texas Bar No. 24087727
                                                      Ari Cuenin
                                                      Texas Bar No. 24078385
                                                      Michael R. Abrams
                                                      Texas Bar No. 24087072
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                                          Alexander M. Dvorscak
                                          Texas Bar No. 24120461
                                          STONE | HILTON PLLC
                                          600 Congress Ave., Ste. 2350
                                          Austin, TX 78701
                                          Telephone: (737) 465-3897
                                          judd@stonehilton.com
                                          chris@stonehilton.com
                                          ari@stonehilton.com
                                          michael@stonehilton.com
                                          alex@stonehilton.com

                                          John C. Sullivan
                                          Texas Bar No. 24083920
                                          S|L Law PLLC
                                          610 Uptown Boulevard, Suite 2000
                                          Cedar Hill, TX 75104
                                          Telephone: (469) 523-1351
                                          Facsimile: (469) 613-0891
                                          john.sullivan@the-sl-lawfirm.com

                                          Counsel for Plaintiff




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On behalf of Defendants:

                                              SUSMAN GODFREY L.L.P.

                                              /s/ Justin A. Nelson
                                              Justin A. Nelson (TX 24034766)
                                              Matthew C. Behncke (TX 24069355)
                                              Alexandra Foulkes Grafton (TX 24116448)
                                              1000 Louisiana, Suite 5100
                                              Houston, TX 77002
                                              Telephone: (713) 651-9366
                                              Facsimile: (713) 654-6666
                                              jnelson@susmangodfrey.com
                                              mbehncke@susmangodfrey.com
                                              afoulkesgrafton@susmangodfrey.com

                                              Katherine Peaslee (CA 310298)
                                              1900 Avenue of the Stars, Suite 1400
                                              Los Angeles, CA 90067
                                              Telephone: (310) 789-3100
                                              Facsimile: (310) 789-3150
                                              kpeaslee@susmangodfrey.com

                                              GIBSON, DUNN & CRUTCHER LLP
                                              Andrew LeGrand (TX 24070132)
                                              2001 Ross Avenue, Suite 2100
                                              Dallas, TX 75201
                                              T: (214) 698-3100
                                              F: (214) 571-2960
                                              alegrand@gibsondunn.com

                                              Gregg Costa
                                              811 Main Street Suite 3000
                                              Houston, TX 77002
                                              T: (346) 718-6649
                                              F: (214) 571-2960
                                              gcosta@gibsondunn.com
                                              Theodore J. Boutrous, Jr.* (CA 132099)
                                              333 South Grand Avenue
                                              Los Angeles, CA 90071
                                              T: (213) 229-7000
                                              F: (213) 229-7520
                                              tboutrous@gibsondunn.com

                                              Amer S. Ahmed* (NY 4382040)
                                              200 Park Avenue
                                              New York, New York 10166


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                                                  T: (212) 351-4000
                                                  F: (212) 351-4035
                                                  aahmed@gibsondunn.com

                                                  Attorneys for Defendants Media Matters
                                                  for America, Eric Hananoki, and Angelo
                                                  Carusone


                              CERTIFICATE OF SERVICE

      I hereby certify that on June 13, 2025, a copy of this document was served on all counsel

of record through the Court’s CM/ECF system in accordance with the Federal Rules of Civil

Procedure.


                                           /s/ Justin A. Nelson
                                           Justin A. Nelson




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